Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 1 of 31 Page ID #:1




 1   Nicole Lavallee (SBN 165755)
     Jeffrey V. Rocha (SBN 304852)
 2
     BERMAN TABACCO
 3   44 Montgomery Street, Suite 650
     San Francisco CA 94104
 4
     Telephone: (415) 433-3200
 5   Facsimile: (415) 433-6382
     Email: nlavallee@bermantabacco.com
 6
             jrocha@bermantabacco.com
 7
     Attorneys for Plaintiffs
 8
 9                         UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA

11                                            )   Case No.
12   SAMUEL BLAKE, Individually and on )
     Behalf of All Others Similarly Situated, )   CLASS ACTION
13                                            )
14         Plaintiff,                         )   CLASS ACTION COMPLAINT
                                              )   FOR VIOLATIONS OF THE
15         vs.                                )   FEDERAL SECURITIES LAWS
16                                            )
     CANOO INC., TONY AQUILA,                 )   JURY TRIAL DEMANDED
17   ULRICH KRANZ, and PAUL                   )
18   BALCIUNAS,                               )
                                              )
19         Defendants.                        )
20                                            )

21
22
23
24
25
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 2 of 31 Page ID #:2




 1                                    INTRODUCTION
 2          Plaintiff, by his undersigned attorneys, alleges upon personal knowledge as to
 3   himself and his own acts, and upon information and belief as to all other matters,
 4   based on the investigation conducted by and through Plaintiff’s attorneys, which
 5   included, among other things, a review of the public documents and announcements
 6   issued by Canoo Inc. (“Canoo” or the “Company”), filings with the U.S. Securities
 7   and Exchange Commission (“SEC”), wire and press releases published by and
 8   regarding the Company, securities analysts’ reports and advisories about the
 9   Company, and other information readily obtainable on the Internet.
10                              NATURE OF THE ACTION
11          1.     This is a federal class action brought individually and on behalf of all
12   other persons and entities who purchased or otherwise acquired publicly-traded
13   Canoo common stock and/or warrants from August 18, 2020, through and including
14   March 29, 2021, (the “Class Period”), seeking to recover damages pursuant to
15   Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange
16   Act”), 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5 promulgated thereunder (the
17   “Class”).
18                             JURISDICTION AND VENUE
19          2.     The claims alleged herein arise under Sections 10(b) and 20(a) of the
20   Exchange Act, 15 U.S.C. §§78j(b) and 78t(a) and Rule 10b-5 promulgated
21   thereunder (17 C.F.R. § 240.10b-5)
22          3.     This Court has jurisdiction over the subject matter of this action
23   pursuant to Section 27 of the Exchange Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1331.
24          4.     Venue is proper in this District pursuant to Section 27 of the Exchange
25   Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1391(b), as a substantial part of the acts
26   events or omissions giving rise to the claims pleaded herein occurred in this District
27   and defendants named herein maintain their residence or principal places of business
28   in this District.

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                1
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 3 of 31 Page ID #:3




 1         5.     In connection with the acts alleged in this complaint, Defendants,
 2   directly or indirectly, used the means and instrumentalities of interstate commerce,
 3   including, but not limited to, the United States mails, interstate telephone
 4   communications and the facilities of the NASDAQ National Securities Market
 5   (“NASDAQ”).
 6                                        PARTIES
 7         6.     Plaintiff purchased shares of Canoo common stock, as set forth in the
 8   accompanying certification, which is incorporated by reference herein, and has been
 9   damaged thereby.
10         7.     Canoo (formerly known as Hennessy Capital Acquisition Corp. IV) is
11   a Delaware corporation and maintains its principal executive offices in 19951
12   Mariner Avenue, Torrance, California. The Company was incorporated in Delaware
13   on August 6, 2018 and conducted its initial public offering in March 2019. The
14   Company was formed for the purpose of effecting a business combination with
15   specific focus on businesses in the industrial, technology and infrastructure sectors.
16   Such companies are referred to as “blank check” companies or special purpose
17   acquisition companies (“SPACs”). In December 2020, the Company entered into a
18   business combination with Canoo Holdings Limited (the “Business Combination”).
19   The combined company purports to be a mobility technology company that develops
20   electric vehicles (“EV”). The Company’s common stock and warrants are listed on
21   the NASDAQ under the ticker symbol “GOEV” and “GOEVW,” respectively. Prior
22   to December 22, 2020, the Company’s common stock and warrants traded under the
23   symbols “HCAC” and “HCACW,” respectively.
24         8.     Defendant Ulrich Kranz (“Kranz”) served as Co-Founder and Chief
25   Executive Officer (“CEO”) of Canoo Holdings Limited until he became the
26   Company’s CEO, In Charge after the Business Combination.
27         9.     Defendant Paul Balciunas (“Balciunas”) served as Canoo Holdings
28   Limited’s In Charge of Finance (CFO) & Corporate Development until he became

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                2
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 4 of 31 Page ID #:4




 1   Chief Financial Officer (“CFO”) In Charge of Finance after the Business
 2   Combination. On March 29, 2021, the Company announced that Balciunas would
 3   be resigning from the Company effective April 2, 2021. Balciunas signed the
 4   Company’s Annual Report for the fiscal year ended December 31, 2020 filed on
 5   Form 10-K with the SEC on March 31, 2021 (“FY 2020 10-K”) as the Company’s
 6   “Principal Financial Officer and Principal Accounting Officer.”
 7         10.    Defendant Anthony (Tony) Aquila (“Aquila”) began serving as
 8   Executive Chairman and Director after the Business Combination. Aquila signed
 9   the FY 2020 10-K as the Company’s “Principal Executive Officer.”
10         11.    Defendants Kranz, Balciunas and Aquila are collectively referred to
11   herein as the “Individual Defendants.”
12         12.    The Individual Defendants, because of their positions with the
13   Company, controlled and/or possessed the authority to control the contents of its
14   reports, press releases and presentations to securities analysts and through them, to
15   the investing public. By reason of their management positions and their ability to
16   make public statements in the name of Canoo, the Individual Defendants were and
17   are controlling persons, and had the power and influence to cause (and did cause)
18   Canoo to engage in the conduct complained of herein.
19                           CLASS ACTION ALLEGATIONS
20         13.    Plaintiff brings this action as a class action pursuant to Rules 23(a) and
21   (b)(3) of the Federal Rules of Civil Procedure on behalf of all those who purchased
22   or otherwise acquired publicly traded Canoo common stock and/or warrants from
23   August 18, 2020, through and including March 29, 2021. Excluded from the Class
24   are Defendants herein, members of the immediate family of each of the Defendants,
25   any person, firm, trust, corporation, officer, director or other individual or entity in
26   which any Defendant has a controlling interest or which is related to or affiliated
27   with any of the Defendants, and the legal representatives, agents, affiliates, heirs,
28   successors-in-interest or assigns of any such excluded party.

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                  3
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 5 of 31 Page ID #:5




 1         14.   The members of the Class are located in geographically diverse areas
 2   and are so numerous that joinder of all members is impracticable. Throughout the
 3   Class Period, Canoo common stock and warrants were actively traded on the
 4   NASDAQ. Although the exact number of Class members is unknown at this time
 5   and can only be ascertained through appropriate discovery, Plaintiff believes there
 6   are thousands of members of the Class who traded the Company’s common stock
 7   and warrants during the Class Period.
 8         15.   Common questions of law and fact exist as to all members of the Class
 9   and predominate over any questions affecting solely individual members of the
10   Class. Among the questions of law and fact common to the Class are:
11               (a)    Whether Defendants violated federal securities laws based upon
12                      the facts alleged herein;
13               (b)    Whether statements made by defendants to the investing public
14                      during the Class Period misrepresented material facts about the
15                      business, operations and management;
16               (d)    Whether the Individual Defendants caused Canoo to issue false
17                      and misleading statements during the Class Period;
18               (e)    Whether defendants acted knowingly or recklessly in issuing
19                      false and misleading statements;
20               (f)    Whether the prices of Canoo common stock and warrants during
21                      the Class Period were artificially inflated because of the
22                      defendants’ conduct complained of herein; and
23               (g)    Whether the members of the Class have sustained damages and,
24                      if so, the proper measure of damages.
25         16.   Plaintiff’s claims are typical of the claims of the members of the Class
26   as Plaintiff and members of the Class sustained damages arising out of Defendants’
27   wrongful conduct in violation of federal laws as complained of herein.
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS              4
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 6 of 31 Page ID #:6




 1         17.    Plaintiff will fairly and adequately protect the interests of the members
 2   of the Class and has retained counsel competent and experienced in class and
 3   securities litigation. Plaintiff has no interests antagonistic to, or in conflict with,
 4   those of the Class.
 5         18.    A class action is superior to alternative methods for the fair and efficient
 6   adjudication of this controversy since joinder of all members of this Class is
 7   impracticable. Furthermore, because the damages suffered by individual Class
 8   members may be relatively small, the expense and burden of individual litigation
 9   make it impossible for the Class members individually to redress the wrongs done
10   to them. There will be no difficulty in the management of this action as a class
11   action.
12         19.    Plaintiff will rely, in part, upon the presumption of reliance established
13   by the fraud-on-the-market doctrine in that:
14                (a)      defendants made public misrepresentations or failed to disclose
                           material facts during the Class Period;
15
                  (b)      the omissions and misrepresentations were material;
16
                  (c)      Canoo common stock and warrants are traded in an efficient
17                         market;
18                (d)      the Company’s shares were liquid and traded with moderate to
                           heavy volume during the Class Period;
19
                  (e)      the Company traded on the NASDAQ and was covered by
20                         multiple analysts;
21                (f)      the misrepresentations and omissions alleged would tend to
                           induce a reasonable investor to misjudge the value of the
22                         Company’s securities; and
23                (g)      Plaintiff and members of the Class purchased, acquired and/or
                           sold Canoo securities between the time the defendants failed to
24                         disclose or misrepresented material facts and the time the true
                           facts were disclosed, without knowledge of the omitted or
25                         misrepresented facts.
26         20.    Based upon the foregoing, Plaintiff and the members of the Class are
27   entitled to a presumption of reliance upon the integrity of the market.
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                   5
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 7 of 31 Page ID #:7




 1               MATERIALLY FALSE & MISLEADING STATEMENTS
 2         21.    The Class Period begins on August 18, 2020. On August 18, 2020,
 3   the Company issued a press release announcing that it had entered into a deal with
 4   Canoo Holdings Ltd. which would result in it becoming a publicly listed company.
 5         22.    During an August 18, 2020 conference call with investors, Defendant
 6   Kranz touted three streams of revenue for the Company. In addition to business to
 7   business (“B2B”) sales, the Company touted its engineering services business and
 8   a subscription-based consumer vehicle service business:
 9         We have three phases of revenue streams. In the first phase, we call it
           Engineering Services. This is a phase that already exists today. So,
10         we are working for companies and we are already making money
           with the first revenue stream. The second revenue stream is a B2C.
11         This is a stream that we will have available when we launch our first
           vehicle, our lifestyle vehicle, by 2022. This is a consumer vehicle and
12         it will be on subscription. The B2B service, that you see on the right
           side, is our third revenue stream. This will be a vehicle introduced in
13         2023, what we call a last-mile delivery vehicle, and this will be for
           sales. Three different revenue streams give us very good flexibility, and
14         it makes also sure that we can really tap into different areas to be
           profitable.
15
16         23.    In a presentation filed with the SEC on August 18, 2020, the
17   Company described these streams of revenue as follows:
18
19
20
21
22
23
24
25
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                 6
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 8 of 31 Page ID #:8




 1         24.     In another slide the Company touted how its engineering services
 2   revenue would “reduce the Company’s overall execution risk”:
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15         25.     Also, during the August 18, 2020 conference call, Defendant
16   Balciunas touted the subscription-based business model:
17         Looking at our margin, our target rate is approximately 40% for the
           subscription business. As we look at other competitors that offer
18         subscription products in the technology sector, we see that this margin
           is very similar and there’s a lot of similarities between our model and
19         their model, even though at initial glance it may appear to be very
           different.… Because depreciation is such a fundamental part of our
20         business, think about it like a rental car business, for us to be able to
           achieve a 20% operating profit is far greater than what you see in
21         the traditional automotive OEM business model where that margin
           is closer to 5% to 10%. So, it really does highlight the power of a
22         subscription business model with this figure being a fully-burdened
           margin.
23
24         26.     The presentation highlighted how the subscription model was superior
25   to leasing:
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS              7
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 9 of 31 Page ID #:9




 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13         27.   The presentation further touted how the subscription-based model
14   would be “more profitable & resilient”:
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS           8
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 10 of 31 Page ID #:10




 1         28.    On December 21, 2020, Company announced its business combination
 2   with Canoo Holdings Ltd. had been completed and that the combined company’s
 3   common stock and warrants would trade on the NASDAQ beginning on
 4   December 22, 2020.
 5         29.    On December 21, 2020, after the market close, the Company filed a
 6   Form 8-K with the SEC signed by Defendant Balciunas. The Form 8-K included a
 7   press release touting the combination and the Company’s “unique business model”:
 8         Canoo is a Los Angeles-based company that has developed
           breakthrough electric vehicles that are reinventing the automotive
 9         landscape with bold innovations in design, pioneering technologies,
           and a unique business model that defies traditional ownership to
10         put customers first.
11
12         30.    On January 13, 2021, after the market close, the Company filed a Form
13   8-K with the SEC with a press release announcing the Company’s new Board of
14   Directors. Defendant Balciunas signed the Form 8-K. Again, the Form 8-K included
15   a press release in which the Company touted its “unique business model”:
16         Canoo is a Los Angeles-based company that has developed
           breakthrough electric vehicles that are reinventing the automotive
17         landscape with bold innovations in design, pioneering technologies,
           and a unique business model that defies traditional ownership to
18         put customers first.
19
20         31.    A Form S-1 Registration Statement was filed on January 13, 2021 and
21   signed by Defendants Aquila and Balciunas (the “S-1”).
22         32.    In the S-1, the Company touted the value of its EV engineering
23   experience, its deal with Hyundai to provide engineering services, and discussions
24   with other industry participants:
25         This experience and advanced progress have garnered the
           attention of prospective collaboration partners, including leading
26         global automotive OEMs. In February 2020, we entered into an
           agreement with Hyundai Motor Group to co-develop a future EV
27         platform based on our modular and scalable skateboard technology,
           providing further validation of our technical leadership. The agreement
28         provides for the co-development of a platform for a small segment
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS            9
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 11 of 31 Page ID #:11



           electric vehicle for which the intellectual property developed will be
 1         jointly owned by us and Hyundai Motor Group. The agreement
           provides that it may be terminated for convenience by either party;
 2         however, certain provisions, including with respect to the joint-
           ownership of intellectual property, survive any such termination. We
 3         are also currently in discussions with multiple other blue-chip industry
           participants interested in leveraging our technologies and engineering
 4         expertise for their own commercial products.
 5         33.   The S-1 also stated:
 6         Our pipeline for engineering services includes EV concept design and
           engineering services for other OEMs, autonomous driving strategics
 7         and high growth technology companies. There is a significant market
           for contract engineering services among legacy OEMs who lack the
 8         expertise to develop an electric powertrain at the pace needed to
           capitalize on the rising regulatory requirements and global
 9         demand for EVs. We are at a distinct competitive advantage to
           capitalize on this growing demand. In fact, whereas other new EV
10         entrants are forced to license key technologies and/or outsource
           primary engineering development to larger OEMs, we have already
11         received significant OEM interest in our skateboard technology
           and our team’s expertise in platform engineering, powertrains and
12         vehicle design, as is exemplified by the announcement of an
           agreement between us and Hyundai Motor Group for the co-
13         development of a future EV platform based on our modular
           skateboard technology.
14
           Contract engineering opportunities serve as concrete points of external
15         validation for our technology and the talent of our team, as well as
           provide additional sources of revenue and long-term commercial
16         opportunities (such as skateboard and technology licensing) as the
           relationship matures. We are also in discussions with a number of
17         other partners and expect to be in a position to announce many
           more partnerships in due course.
18
           34.   The S-1 further touted its “innovative” business model:
19
           Both our Lifestyle Vehicle and our Sport Vehicle are initially intended
20         to be made available to consumers via an innovative subscription
           business model. With a single monthly payment, customers will enjoy
21         the benefits of an all-inclusive experience that, in addition to their own
           vehicle, also includes standard maintenance, warranty, registration and
22         access to both insurance and vehicle charging. We plan to utilize an
           asset-light, flexible manufacturing strategy by outsourcing our direct
23         vehicle production operations to a world-class vehicle contract
           manufacturing partner for our initial vehicle programs. In doing so, we
24         will significantly reduce our up-front capital investment and eliminate
           the recurring fixed costs and overhead that would be required for us to
25         own and operate our own assembly facility.
26         35.   The S-1 further stated:
27         Both our Lifestyle Vehicle and our Sport Vehicle are initially intended
           to be made available to consumers via an innovative subscription
28         business model. Research from Volvo and the Harris Poll shows that
     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               10
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 12 of 31 Page ID #:12



           74% of drivers believe EVs are the future of driving, but many are
 1         concerned about trying a new technology. 40% of non-EV drivers
           responded that a 30 day “try before you buy” period would increase the
 2         likelihood of them purchasing an EV. In other words, consumers are
           increasingly interested in EV technology, but long-term commitments
 3         (or other hurdles like sizable down payments) remain a significant
           barrier to entry. By reducing the commitment required for a typical
 4         car purchase or lease, we believe the subscription model will help
           reduce the barriers to entry for consumers looking to drive an EV,
 5         while also providing us with a distinct opportunity for recurring
           revenue and a unique profit margin profile. We believe this model
 6         is supported by a number of key trends in consumer preferences
           and strong underlying financial metrics as compared to a
 7         traditional one-time sale model.
 8                                           ***
 9         During 2020, our revenue has been derived from the provision of
           engineering, development and design consulting services on a project
10         basis. Once we reach commercialization and commence production of
           our EVs, we expect that the significant majority of our revenue will
11         be derived from our consumer subscription program for our
           Lifestyle Vehicle and Sport Vehicle, as well as sales of our Multi-
12         Purpose Delivery Vehicle.
13
14         36.    On March 11, 2021, the Company filed a Form 8-K signed by
15   Defendant Balciunas with an attached press release dated March 10, 2021
16   announcing the debut of a fully-electric pickup truck. The press release further again
17   touted its business model:
18         Canoo is a Los Angeles-based company that has developed
           breakthrough electric vehicles that are reinventing the automotive
19         landscape with bold innovations in design, pioneering technologies,
           and a unique business model that defies traditional ownership to
20         put customers first.
21
22         37.    On March 15, 2021, the Company filed a Form 8-K signed by
23   Defendant Balciunas with an attached press release dated March 15, 2021 in which
24   the Company touted its “unique business model”:
25         Canoo is a Los Angeles-based company that has developed
           breakthrough electric vehicles that are reinventing the automotive
26         landscape with bold innovations in design, pioneering technologies,
           and a unique business model that defies traditional ownership to
27         put customers first.
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               11
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 13 of 31 Page ID #:13




 1            38.   The statements described above were materially false and misleading
 2   and failed to disclose material adverse facts about the Company’s business,
 3   operations, and prospects. As discussed below, the Defendants misled investors by
 4   misrepresenting and/or failing to disclose that: (i) the Company’s engineering
 5   services was not a viable business, would not provide meaningful revenue in 2021,
 6   and would not reduce operational risk; (ii) that the Company would no longer be
 7   focused on its subscription-based business model; and (iii) as a result, the
 8   Company’s public statements were materially false and misleading at all relevant
 9   times.
10                                 THE TRUTH EMERGES
11            39.   On March 29, 2021, after the market close, Canoo issued a press release
12   (“Q4 Release”) reporting its fourth quarter and full year 2020 results. The Q4
13   Release removed the language touting its “unique business model” simply stating:
14   “Canoo has developed breakthrough electric vehicles that are reinventing the
15   automotive landscape with bold innovations in design and pioneering technologies.”
16            40.   On March 29, 2021, the Company held a conference call to discuss its
17   financial results (the “Q4 Call”). During the call Defendant Aquila announced that
18   Defendant Balciunas was being replaced as CFO. The Company’s CEO, Defendant
19   Kranz was not on the call.
20            41.   During the Q4 Call, Defendant Aquila revealed that “it was decided by
21   our Board to de-emphasize the originally stated contract engineering services line.”
22            42.   An analyst from ROTH Capital stated during the Q4 Call, “I would
23   acknowledge that these are significant surprises on the call today, and that’s not ideal
24   after a SPAC – the IPO process” and asked why the Company “would deemphasize
25   engineering given that the original story was it would subsidize the development and
26   broaden the partner opportunity with potentially multiple hats under license?”
27   Defendant Aquila replied, “I would say that from a Company perspective, it was a
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                 12
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 14 of 31 Page ID #:14




 1   contradiction…. [C]ontract engineering house is just really not going to drive the
 2   best shareholder value.”
 3         43.    Another analyst inquired: “[D]uring the course of the year, you stated
 4   a couple of times that you had under discussion with some OEMs and possibly the
 5   contract manufacturers. You said that there are going to be some announcements by
 6   the end of Q4. I’m just wondering what happened that changed all that?” To which,
 7   Defendant Aquila responded:
 8         I think that [other Canoo management] were focused on maybe a little
           more aggressive than I would be in their statements. I think more
 9         maturity of this team would not be that presumptuous. We only
           announced what is contracted. But yes, I think they had the
10         opportunities but they weren’t at our standard of representation to the
           public markets…. And then with respect to contract manufacturing,
11         again we wouldn’t make an announcement. Again, this comes back to
           having an experienced public company team here to be careful of the
12         statements you make. So again, I think it was a little premature deal.
13         44.    Regarding the subscription model, another analyst asked, “I mean
14   you’ve tweak the business model a little bit. But I mean, just curious on the sort of
15   retail to the consumer side, how you’re thinking about that going forward? Is there
16   just too much opportunity on the commercial side and you’re kind of putting that
17   sort of back burner or is this subscription model still in play? Because I know that
18   was part of the story before.” To which Defendant Aquila responded:
19         If you think about a membership model, when I came in and took my
           role and we spent a lot of money analyzing the weight that this will
20         have on the balance sheet…. [S]o you can only have a certain
           percentage of your business on membership. Otherwise you’ve got a
21         big cash hit that starts to develop on you, as you can probably imagine.
           So we'll be doing that on an appropriate basis…. [A]s you can see the
22         modifications we’re doing. And to your point, when you really think
           about it on a financial burden basis on the balance sheet, yes there’s
23         probably 80% change but it’s too [SIC] that mathematical positive. As
           far as the sequence of changing the things we’re really on the top hat
24         side, which is less right here in the 20% to 40% range. So I like the
           model, I believe in the model. I know the model. It holds up
25         mathematically and we’ll walk you through this. And again, I apologize
           to anybody. As a leader, you always own the past before the present or
26         the future. And so I take everyone's comments in all the three
           categories
27
           45.    An article published by The Verge shortly after the call reported:
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS              13
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 15 of 31 Page ID #:15



           The deal between Canoo and Hyundai to build electric vehicles
 1         appears to be dead, as the California EV startup is moving away
           from trying to sell its electric vehicle technology to other
 2         automakers.
 3         Canoo chairman Tony Aquila shared the news Monday during an icy
           investor call―Canoo’s first as a publicly-traded company. Canoo’s
 4         CEO was also absent from the call, and the company announced
           earlier in the day that its CFO had resigned to take another job—
 5         the second major departure in recent weeks following Canoo losing
           its head of corporate strategy.
 6
                                             ***
 7         “These are significant surprises on the call today, and that’s not ideal,”
           Roth Capital analyst Craig Irwin said at one point on the call.
 8
           The deal with Hyundai was announced in February 2020, and it was
 9         supposed to result in both the Hyundai and Kia brands building vehicles
           on Canoo’s electric vehicle platform. It was seen as a major vote of
10         confidence in the startup, which was just two years old at the time, as
           well as its tech. Canoo called it a “key partnership.” Hyundai did not
11         immediately respond to a request for comment. Canoo did not respond
           beyond Aquila’s statements.
12
                                              ***
13
           In documents filed with the Securities and Exchange Commission, both
14         before and after the merger, Canoo had said its planned engineering
           services business presented “a significant market for contract
15         engineering services among legacy OEMs who lack the expertise to
           develop an electric powertrain at the pace needed to capitalize on the
16         rising regulatory requirements and global demand for EVs.”
17                                            ***
18         But on Monday, Aquila said Canoo will now focus more on making
           and selling its own vehicles to commercial operators. The company
19         has so far announced a delivery vehicle, a pickup truck, and a van, all
           of which are built on the same underlying technological platform.
20         Canoo will focus even less on the idea of selling its electric van to
           consumers through a subscription model — the original pitch when the
21         startup broke cover in 2018.
22         Aquila has previously spoken about focusing more on selling to fleet
           operators and small businesses as opposed to customers, though it
23         wasn’t until Monday that he explained just how far he is willing to
           take that strategy shift. To wit, Canoo quietly uploaded a new
24         investor presentation to its investor relations website on Monday
           that no longer mentions Hyundai.
25
           “We have so much demand for our three [vehicles], let’s get all that
26         work done, and then let’s, you know, look at if there [are] partnerships,”
           he said. Aquila explained he believes that this will make for a more
27         sound business with less risk.
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               14
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 16 of 31 Page ID #:16



            When pressed on the startup’s previous claims about this part of its
 1          business, Aquila―who invested $35 million into Canoo before the
            SPAC merger―pointed to its prior leadership. Aquila said they were
 2          “a little more aggressive” than he would’ve been with some of their
            public statements, and that talk of potential partnerships was
 3          “presumptuous.”
 4          “You’ve got to be careful with statements you make. So, you know,
            again, I think it was a little premature,” he said.
 5
            While some of those executives are indeed now gone, like cofounder
 6          and former CEO Stefan Krause, others remain — though they weren’t
            on Monday’s call. At one point Aquila was asked directly if Krause’s
 7          replacement, Canoo cofounder Ulrich Kranz, was still CEO. Aquila
            confirmed he is, though as The Verge first reported late last year,
 8          Kranz’s contract was recently renegotiated and he was removed from
            the board of directors.
 9
            Aquila said he believes the refocused business will help “protect” the
10          intellectual property Canoo has developed, and that the original deal
            with Hyundai didn’t factor in the value of that IP. When one analyst
11          asked if Aquila thinks Hyundai misappropriated any of Canoo’s IP,
            Aquila said “well I’ll leave it to you to make that decision.”
12
13          46.    In response to this news, shares of Canoo fell $2.50 (or $21.2%) from
14   a March 29, 2021 close of $11.80 per share to close at $9.30 per share on March 30,
15   2021, on heavy volume.
16          47.    An analyst from Roth Capital Partners downgraded the Company to
17   neutral from buy and slashed the price target to $12 from $30 citing the hard pivot
18   in the Company’s business model.
19                        ADDITIONAL SCIENTER ALLEGATIONS
20          48.    The Individual Defendants knew and/or recklessly disregarded the
21   falsity and misleading nature of the information that they caused to be disseminated
22   to the investing public. The ongoing fraudulent scheme described herein could not
23   have been perpetrated over a substantial period of time without the knowledge and
24   complicity of the personnel at the highest level of the Company, including the
25   Individual Defendants. The Individual Defendants were motivated to materially
26   misrepresent the true nature of the Company’s business, operations, and financial
27   affairs to the public and regulators in order to keep the Company’s share price
28   artificially high.

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS             15
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 17 of 31 Page ID #:17




 1                      LOSS CAUSATION / ECONOMIC LOSS
 2         49.    During the Class Period, as detailed herein, the Individual Defendants
 3   engaged in a scheme to deceive the market and a course of conduct that artificially
 4   inflated the Company’s common stock and warrant prices, and operated as a fraud
 5   or deceit on acquirers of the Company’s common stock and warrants. As detailed
 6   above, when the truth about the Company’s financial situation was revealed, the
 7   Company’s common stock and warrants declined as the prior artificial inflation
 8   came out of its common stock price. That decline in Company’s common stock and
 9   warrant prices was a direct result of the nature and extent of the fraud finally being
10   revealed to investors and the market. The timing and magnitude of the common
11   stock and warrant prices decline negates any inference that the loss suffered by
12   Plaintiff and other members of the Class was caused by changed market conditions,
13   macroeconomic or industry factors or Company-specific facts unrelated to the
14   fraudulent conduct. The economic loss, i.e., damages, suffered by the Plaintiff and
15   other Class members was a direct result of the fraudulent scheme to artificially
16   inflate the Company’s common stock and warrant prices and the subsequent
17   significant decline in the value of the Company’s common stock and warrants when
18   the prior misrepresentations and other fraudulent conduct were revealed.
19         50.    At all times relevant, Defendants’ materially false and misleading
20   statements or omissions alleged herein directly or proximately caused the damages
21   suffered by the Plaintiff and other Class members. Those statements were materially
22   false and misleading because they failed to disclose a true and accurate picture of
23   Company’s business, operations and financial condition, as alleged herein.
24   Throughout the Class Period, Defendants publicly issued materially false and
25   misleading statements and omitted material facts necessary to make Defendants’
26   statements not false or misleading, causing Company’s common stock and warrant
27   prices to be artificially inflated. Plaintiff and other Class members purchased
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               16
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 18 of 31 Page ID #:18




 1   Company’s common stock and warrant prices at those artificially inflated prices,
 2   causing them to suffer the damages complained of herein.
 3                                   NO SAFE HARBOR
 4         51.    The statutory safe harbor under the Private Securities Litigation Reform
 5   Act of 1995, which applies to forward-looking statements under certain
 6   circumstances, does not apply to any of the allegedly false and misleading statements
 7   pleaded in this complaint. The statements alleged to be false and misleading herein
 8   all relate to then-existing facts and conditions. In addition, to the extent certain of
 9   the statements alleged to be false may be characterized as forward-looking, they
10   were not adequately identified as “forward-looking statements” when made, and
11   there were no meaningful cautionary statements identifying important factors that
12   could cause actual results to differ materially from those in the purportedly forward-
13   looking statements. Alternatively, to the extent that the statutory safe harbor is
14   intended to apply to any forward-looking statements pleaded herein, Defendants are
15   liable for those false forward-looking statements because, at the time each of those
16   forward-looking statements was made, the particular speaker had actual knowledge
17   that the particular forward-looking statement was materially false or misleading,
18   and/or the forward-looking statement was authorized and/or approved by an
19   executive officer of the Company who knew that those statements were false,
20   misleading or omitted necessary information when they were made.
21                                       COUNT I
                   Violations of Section 10(b) of the Exchange Act and
22                        Rule 10b-5 Promulgated Thereunder
                                 (Against All Defendants)
23         52.    Plaintiff repeats and realleges each and every allegation contained
24   above as if fully set forth herein.
25         53.    This Count is asserted against Defendants and is based upon Section
26   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
27   thereunder by the SEC.
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                17
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 19 of 31 Page ID #:19




 1         54.    Pursuant to the above plan, scheme, conspiracy and course of conduct,
 2   each of these defendants participated directly or indirectly in the preparation and/or
 3   issuance of the quarterly and annual reports, SEC filings, press releases and other
 4   statements and documents described above, including statements made to securities
 5   analysts and the media that were designed to influence the market for the Company’s
 6   securities. Such reports, filings, releases and statements were materially false and
 7   misleading in that they failed to disclose material adverse information and
 8   misrepresented the truth about the Company’s finances and business prospects.
 9         55.    By virtue of their positions at the Defendants had actual knowledge of
10   the materially false and misleading statements and material omissions alleged herein
11   and intended thereby to deceive Plaintiff and the other members of the Class, or, in
12   the alternative, these defendants acted with reckless disregard for the truth in that
13   they failed or refused to ascertain and disclose such facts as would reveal the
14   materially false and misleading nature of the statements made, although such facts
15   were readily available to these defendants. Said acts and omissions of Defendants
16   were committed willfully or with reckless disregard for the truth. In addition, each
17   defendant knew or recklessly disregarded that material facts were being
18   misrepresented or omitted as described above.
19         56.    Information showing that the Defendants acted knowingly or with
20   reckless disregard for the truth is within these Defendants’ knowledge and control.
21   As the senior managers and/or directors of the Company, the Individual Defendants
22   each had knowledge of the details of the Company’s internal affairs.
23         57.    The Individual Defendants are liable both directly and indirectly for the
24   wrongs complained of herein. Because of their positions of control and authority,
25   the Individual Defendants were able to and did, directly or indirectly, control the
26   content of the statements of the Company. As officers and/or directors of a publicly
27   held company, Individual Defendants had a duty to disseminate timely, accurate,
28   and truthful information with respect to the Company’s businesses, operations,

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               18
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 20 of 31 Page ID #:20




 1   future financial condition and future prospects. As a result of the dissemination of
 2   the aforementioned false and misleading reports, releases and public statements, the
 3   market price of the Company’s securities was artificially inflated throughout the
 4   Class Period. In ignorance of the adverse facts concerning the Company’s business
 5   and financial condition which were concealed by these defendants, Plaintiff and the
 6   other members of the Class purchased or otherwise acquired the Company’s
 7   securities at artificially inflated prices and relied upon the price of the securities, the
 8   integrity of the market for the securities and/or upon statements disseminated by
 9   these defendants, and were damaged thereby.
10         58.    During the Class Period, the Company’s securities were traded on an
11   active and efficient market. Plaintiff and the other members of the Class, relying on
12   the materially false and misleading statements described herein, which these
13   defendants made, issued or caused to be disseminated, or relying upon the integrity
14   of the market, purchased or otherwise acquired shares of the Company’s securities
15   at prices artificially inflated by these defendants’ wrongful conduct. Had Plaintiff
16   and the other members of the Class known the truth, they would not have purchased
17   or otherwise acquired said securities, or would not have purchased or otherwise
18   acquired them at the inflated prices that were paid. At the time of the purchases
19   and/or acquisitions by Plaintiff and the Class, the true value of the Company’s
20   securities was substantially lower than the prices paid by Plaintiff and the other
21   members of the Class. The market price of the Company’s securities declined upon
22   public disclosure of the facts alleged herein to the injury of Plaintiff and Class
23   members.
24         59.    By reason of the foregoing, the Individual Defendants knowingly or
25   recklessly, directly or indirectly violated Section 10(b) of the Exchange Act and SEC
26   Rule 10b-5 promulgated thereunder in that they: (a) employed devices, schemes and
27   artifices to defraud; (b) failed to disclose material information; or (c) engaged in
28   acts, practices and a course of business which operated as a fraud and deceit upon

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS                    19
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 21 of 31 Page ID #:21




 1   Plaintiff and the other members of the Class in connection with their purchases of
 2   the Company’s common stock and warrants during the Class Period.
 3         60.    As a direct and proximate result of the Individual Defendants wrongful
 4   conduct, Plaintiff and the other members of the Class suffered damages in
 5   connection with their respective purchases, acquisitions and sales of the Company’s
 6   securities during the Class Period, upon the disclosure that the Company had been
 7   disseminating misrepresented financial statements to the investing public.
 8                                       COUNT II
                      Violations of Section 20(a) of the Exchange Act
 9                         (Against the Individual Defendants)
10         61.    Plaintiff repeats and realleges each and every allegation contained in
11   the foregoing paragraphs as if fully set forth herein.
12         62.    During the Class Period, the Individual Defendants participated in the
13   operation and management of the Company, and conducted and participated, directly
14   and indirectly, in the conduct of the Company’s business affairs. Because of their
15   senior positions, they knew the adverse non-public information about the
16   Company’s misstatement of income and expenses and false financial statements.
17         63.    As officers and/or directors of a publicly owned company, the
18   Individual Defendants had a duty to disseminate accurate and truthful information
19   with respect to the Company’s financial condition and results of operations, and to
20   correct promptly any public statements issued by the Company which had become
21   materially false or misleading.
22         64.    Because of their positions of control and authority as senior officers,
23   the Individual Defendants were able to, and did, control the contents of the various
24   reports, press releases and public filings which the Company disseminated in the
25   marketplace during the Class Period concerning the Company’s results of
26   operations. Throughout the Class Period, the Individual Defendants exercised their
27   power and authority to cause the Company to engage in the wrongful acts
28   complained of herein. The Individual Defendants therefore, were “controlling

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS             20
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 22 of 31 Page ID #:22




 1   persons” of the Company within the meaning of Section 20(a) of the Exchange Act.
 2   In this capacity, they participated in the unlawful conduct alleged which artificially
 3   inflated the market price of the Company securities.
 4         65.    By reason of the above conduct, the Individual Defendants are liable
 5   pursuant to Section 20(a) of the Exchange Act for the violations committed by the
 6   Company.
 7                                PRAYER FOR RELIEF
 8         WHEREFORE, Plaintiff, on his own behalf and on behalf of the Class, prays
 9   for judgment as follows:
10         (a)    Determining this action to be a proper class action and certifying
11   Plaintiff as class representative under Rule 23 of the Federal Rules of Civil
12   Procedure;
13         (b)    Awarding compensatory damages in favor of Plaintiff and the other
14   members of the Class against all Defendants, jointly and severally, for the damages
15   sustained as a result of the wrongdoings of Defendants, together with interest
16   thereon;
17         (c)    Awarding Plaintiff the fees and expenses incurred in this action
18   including reasonable allowance of fees for Plaintiff’s attorneys and experts;
19         (d)    Granting extraordinary equitable and/or injunctive relief as permitted
20   by law, equity and federal and state statutory provisions sued on hereunder; and
21         (e)    Granting such other and further relief as the Court may deem just and
22   proper.
23   //
24   //
25   //
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS               21
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 23 of 31 Page ID #:23




 1                             JURY TRIAL DEMANDED
 2         Plaintiff hereby demands a trial by jury.
 3   DATED: April 2, 2021                  BERMAN TABACCO
 4
 5                                         By:    /s/ Nicole Lavallee
                                                  Nicole Lavallee
 6
 7                                         Jeffrey V. Rocha
                                           44 Montgomery Street, Suite 650
 8                                         San Francisco, CA 94104
 9                                         Telephone: (415) 433-3200
                                           Facsimile: (415) 433-6382
10                                         Email: nlavallee@bermantabacco.com
11                                                 jrocha@bermantabacco.com

12                                         Attorneys for Plaintiff
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     CLASS ACTION COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS       22
Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 24 of 31 Page ID #:24
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 25 of 31 Page ID #:25


                                         EXHIBIT A
                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date     Transaction Type       Shares Bought   Shares Sold            Price
03/26/21          Buy                  0.11692                           $12.15
03/26/21          Buy                  0.141157                          $12.61
03/26/21          Buy                  0.166389                          $12.03
03/26/21          Buy                  0.171868                          $12.02
03/26/21          Buy                  0.177109                          $11.97
03/26/21          Buy                  0.247015                          $12.15
03/26/21          Buy                  0.260507                          $12.02
03/26/21          Buy                  0.395256                          $12.65
03/26/21          Buy                  0.453327                          $11.95
03/26/21          Buy                  0.552906                          $11.96
03/26/21          Buy                  0.660626                          $12.14
03/26/21          Buy                  0.884584                          $12.65
03/26/21          Buy                  1.159733                          $12.02
03/26/21          Buy                  3                                 $12.02
03/26/21          Buy                  3.06367                           $12.02
03/26/21          Buy                  3.993327                          $11.99
03/26/21          Buy                  3.998353                          $12.15
03/26/21          Buy                  4.489291                          $12.14
03/26/21          Buy                  9                                 $12.65
03/26/21          Buy                  13                                $12.58
03/26/21          Buy                  18.811881                         $12.61
03/26/21          Buy                  25                                $13.18
03/26/21          Buy                  25                                $13.23
03/26/21          Buy                  28                                $12.03
03/26/21          Buy                  56.953086                         $12.15
03/26/21          Buy                  57.92768                          $12.03
03/26/21          Buy                  57.978176                         $11.96
03/26/21          Buy                  72                                $12.03
03/26/21          Buy                  99.739727                         $11.95
03/26/21          Buy                  100                               $13.10
03/26/21          Buy                  100                               $12.61
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.14
03/26/21          Buy                  100                               $12.14
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.14
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.14
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.14
03/26/21          Buy                  100                               $12.15
03/26/21          Buy                  100                               $12.03
03/26/21          Buy                  100                               $12.03
03/26/21          Buy                  100                               $12.03
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 26 of 31 Page ID #:26


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type       Shares Bought        Shares Sold            Price
03/26/21          Buy                   100                                    $12.03
03/26/21          Buy                   150                                    $13.10
03/26/21          Buy                   200                                    $12.90
03/26/21          Buy                   200                                    $12.15
03/26/21          Buy                   200                                    $11.95
03/26/21          Buy                   200                                    $11.95
03/26/21          Buy                   237                                    $12.58
03/26/21          Buy                   245.071862                             $12.03
03/26/21          Buy                   250                                    $13.28
03/26/21          Buy                   250                                    $13.12
03/26/21          Buy                   250                                    $13.01
03/26/21          Buy                   250                                    $12.98
03/26/21          Buy                   250                                    $12.91
03/26/21          Buy                   250                                    $12.63
03/26/21          Buy                   250                                    $12.65
03/26/21          Buy                   253                                    $11.95
03/26/21          Buy                   254                                    $13.08
03/26/21          Buy                   268.125363                             $12.03
03/26/21          Buy                   272                                    $12.03
03/26/21          Buy                   272                                    $12.03
03/26/21          Buy                   300                                    $12.03
03/26/21          Buy                   324.73251                              $12.15
03/26/21          Buy                   469                                    $12.03
03/26/21          Buy                   475                                    $13.18
03/26/21          Buy                   475                                    $13.25
03/26/21          Buy                   500                                    $12.15
03/26/21          Buy                   700                                    $12.15
03/26/21          Buy                   772                                    $12.03
03/26/21          Buy                   804.204149                             $12.15
03/26/21          Buy                   972                                    $12.03
03/26/21          Buy                   3,352.89                               $11.93
03/26/21          Sale                                      (0.232878)         $12.14
03/26/21          Sale                                      (1)                $13.14
03/26/21          Sale                                      (1)                $13.14
03/26/21          Sale                                      (1)                $13.13
03/26/21          Sale                                      (1)                $13.13
03/26/21          Sale                                      (1)                $11.92
03/26/21          Sale                                      (5)                $11.92
03/26/21          Sale                                      (5)                $11.92
03/26/21          Sale                                      (9)                $11.92
03/26/21          Sale                                      (16)               $12.01
03/26/21          Sale                                      (28)               $11.92
03/26/21          Sale                                      (34)               $11.92
03/26/21          Sale                                      (50)               $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
03/26/21          Sale                                      (100)              $12.02
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 27 of 31 Page ID #:27


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type      Shares Bought         Shares Sold            Price
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.02
03/26/21          Sale                                     (100)               $12.01
03/26/21          Sale                                     (100)               $12.01
03/26/21          Sale                                     (100)               $12.01
03/26/21          Sale                                     (100)               $12.01
03/26/21          Sale                                     (100)               $11.92
03/26/21          Sale                                     (100)               $11.92
03/26/21          Sale                                     (100)               $11.92
03/26/21          Sale                                     (100)               $11.90
03/26/21          Sale                                     (101)               $12.02
03/26/21          Sale                                     (161)               $11.92
03/26/21          Sale                                     (184)               $12.01
03/26/21          Sale                                     (199)               $12.02
03/26/21          Sale                                     (200)               $12.02
03/26/21          Sale                                     (200)               $12.02
03/26/21          Sale                                     (300)               $12.01
03/26/21          Sale                                     (366)               $11.92
03/26/21          Sale                                     (400)               $11.91
03/26/21          Sale                                     (456)               $11.92
03/26/21          Sale                                     (500)               $12.01
03/26/21          Sale                                     (545.40195)         $12.01
03/26/21          Sale                                     (744)               $11.92
03/26/21          Sale                                     (1,526.9471)        $11.90
03/26/21          Sale                                     (3,829)             $12.12
03/29/21          Buy                   0.5                                    $11.91
03/29/21          Buy                   0.614561                               $11.68
03/29/21          Buy                   0.7                                    $11.90
03/29/21          Buy                   1                                      $11.86
03/29/21          Buy                   5                                      $11.98
03/29/21          Buy                   6                                      $11.91
03/29/21          Buy                   45                                     $11.87
03/29/21          Buy                   50                                     $11.88
03/29/21          Buy                   50                                     $11.99
03/29/21          Buy                   50                                     $11.90
03/29/21          Buy                   95                                     $11.97
03/29/21          Buy                   100                                    $11.90
03/29/21          Buy                   100                                    $11.91
03/29/21          Buy                   100                                    $11.91
03/29/21          Buy                   100                                    $11.91
03/29/21          Buy                   100                                    $11.89
03/29/21          Buy                   100                                    $11.90
03/29/21          Buy                   100                                    $11.85
03/29/21          Buy                   100                                    $11.87
03/29/21          Buy                   100                                    $11.89
03/29/21          Buy                   100                                    $11.89
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 28 of 31 Page ID #:28


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type       Shares Bought           Shares Sold            Price
03/29/21          Buy                   100                                       $11.89
03/29/21          Buy                   100                                       $11.89
03/29/21          Buy                   100                                       $11.89
03/29/21          Buy                   100                                       $11.90
03/29/21          Buy                   100                                       $11.90
03/29/21          Buy                   100                                       $11.90
03/29/21          Buy                   100                                       $11.90
03/29/21          Buy                   100                                       $11.90
03/29/21          Buy                   100                                       $11.97
03/29/21          Buy                   100                                       $11.98
03/29/21          Buy                   100                                       $12.00
03/29/21          Buy                   100                                       $12.00
03/29/21          Buy                   100                                       $11.68
03/29/21          Buy                   100                                       $11.68
03/29/21          Buy                   100                                       $11.68
03/29/21          Buy                   100                                       $11.68
03/29/21          Buy                   200                                       $11.90
03/29/21          Buy                   200                                       $11.90
03/29/21          Buy                   200                                       $11.91
03/29/21          Buy                   200                                       $11.87
03/29/21          Buy                   200                                       $11.86
03/29/21          Buy                   200                                       $11.87
03/29/21          Buy                   200                                       $11.97
03/29/21          Buy                   200                                       $11.96
03/29/21          Buy                   200                                       $11.90
03/29/21          Buy                   250                                       $11.89
03/29/21          Buy                   250                                       $11.99
03/29/21          Buy                   250                                       $11.98
03/29/21          Buy                   252                                       $12.01
03/29/21          Buy                   300                                       $11.96
03/29/21          Buy                   500                                       $11.93
03/29/21          Buy                   500                                       $11.89
03/29/21          Buy                   500                                       $11.90
03/29/21          Buy                   500                                       $11.91
03/29/21          Buy                   1,000                                     $11.92
03/29/21          Buy                   4,137.72                                  $11.68
03/29/21          Sale                                      (0.7)                 $11.82
03/29/21          Sale                                      (1)                   $11.92
03/29/21          Sale                                      (1)                   $11.91
03/29/21          Sale                                      (1)                   $11.91
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.90
03/29/21          Sale                                      (1)                   $11.87
03/29/21          Sale                                      (1)                   $11.89
03/29/21          Sale                                      (1)                   $11.89
03/29/21          Sale                                      (1)                   $11.89
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 29 of 31 Page ID #:29


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type   Shares Bought          Shares Sold            Price
03/29/21          Sale                                  (1)                  $11.89
03/29/21          Sale                                  (1)                  $11.68
03/29/21          Sale                                  (2)                  $11.92
03/29/21          Sale                                  (2)                  $11.90
03/29/21          Sale                                  (3)                  $11.90
03/29/21          Sale                                  (3)                  $11.90
03/29/21          Sale                                  (5)                  $11.90
03/29/21          Sale                                  (5)                  $11.90
03/29/21          Sale                                  (5)                  $11.90
03/29/21          Sale                                  (5)                  $11.90
03/29/21          Sale                                  (5)                  $11.81
03/29/21          Sale                                  (5)                  $11.68
03/29/21          Sale                                  (7)                  $11.90
03/29/21          Sale                                  (8)                  $11.90
03/29/21          Sale                                  (9)                  $11.90
03/29/21          Sale                                  (9)                  $11.90
03/29/21          Sale                                  (10)                 $11.93
03/29/21          Sale                                  (10)                 $11.92
03/29/21          Sale                                  (10)                 $11.92
03/29/21          Sale                                  (10)                 $11.90
03/29/21          Sale                                  (10)                 $11.90
03/29/21          Sale                                  (10)                 $11.90
03/29/21          Sale                                  (10)                 $11.69
03/29/21          Sale                                  (11)                 $11.68
03/29/21          Sale                                  (15)                 $11.91
03/29/21          Sale                                  (15)                 $11.90
03/29/21          Sale                                  (16)                 $11.81
03/29/21          Sale                                  (17)                 $11.90
03/29/21          Sale                                  (17)                 $11.81
03/29/21          Sale                                  (20)                 $11.90
03/29/21          Sale                                  (20)                 $11.90
03/29/21          Sale                                  (24)                 $11.93
03/29/21          Sale                                  (27)                 $11.82
03/29/21          Sale                                  (30)                 $11.90
03/29/21          Sale                                  (30)                 $11.69
03/29/21          Sale                                  (32)                 $11.90
03/29/21          Sale                                  (33)                 $11.90
03/29/21          Sale                                  (34)                 $11.93
03/29/21          Sale                                  (38)                 $11.92
03/29/21          Sale                                  (42)                 $11.90
03/29/21          Sale                                  (50)                 $11.93
03/29/21          Sale                                  (50)                 $11.93
03/29/21          Sale                                  (50)                 $11.90
03/29/21          Sale                                  (50)                 $11.90
03/29/21          Sale                                  (50)                 $11.90
03/29/21          Sale                                  (50)                 $11.90
03/29/21          Sale                                  (50)                 $11.90
03/29/21          Sale                                  (58)                 $11.93
03/29/21          Sale                                  (67)                 $11.81
03/29/21          Sale                                  (70)                 $11.69
03/29/21          Sale                                  (73)                 $11.82
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 30 of 31 Page ID #:30


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type   Shares Bought           Shares Sold            Price
03/29/21          Sale                                  (80)                  $11.90
03/29/21          Sale                                  (95)                  $11.81
03/29/21          Sale                                  (100)                 $11.93
03/29/21          Sale                                  (100)                 $11.92
03/29/21          Sale                                  (100)                 $11.91
03/29/21          Sale                                  (100)                 $11.91
03/29/21          Sale                                  (100)                 $11.91
03/29/21          Sale                                  (100)                 $11.90
03/29/21          Sale                                  (100)                 $11.89
03/29/21          Sale                                  (100)                 $11.90
03/29/21          Sale                                  (100)                 $11.90
03/29/21          Sale                                  (100)                 $11.89
03/29/21          Sale                                  (100)                 $11.89
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.82
03/29/21          Sale                                  (100)                 $11.82
03/29/21          Sale                                  (100)                 $11.82
03/29/21          Sale                                  (100)                 $11.82
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.81
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.69
03/29/21          Sale                                  (100)                 $11.68
03/29/21          Sale                                  (100)                 $11.68
03/29/21          Sale                                  (127)                 $11.81
03/29/21          Sale                                  (150)                 $11.90
03/29/21          Sale                                  (170)                 $11.91
03/29/21          Sale                                  (173)                 $11.82
03/29/21          Sale                                  (173)                 $11.69
03/29/21          Sale                                  (175)                 $11.90
03/29/21          Sale                                  (200)                 $11.93
03/29/21          Sale                                  (200)                 $11.90
03/29/21          Sale                                  (200)                 $11.81
03/29/21          Sale                                  (200)                 $11.82
03/29/21          Sale                                  (200)                 $11.69
03/29/21          Sale                                  (300)                 $11.92
03/29/21          Sale                                  (300)                 $11.81
03/29/21          Sale                                  (300)                 $11.69
 Case 2:21-cv-02873-FMO-JPR Document 1 Filed 04/02/21 Page 31 of 31 Page ID #:31


                                        Canoo, Inc.
                               Common Stock (CUSIP 13803R102)
                                          Trading
     Trade Date      Transaction Type   Shares Bought         Shares Sold            Price
03/29/21          Sale                                  (300)               $11.68
03/29/21          Sale                                  (932.78644)         $11.89
03/29/21          Sale                                  (943)               $11.81
03/29/21          Sale                                  (1,000)             $11.81
03/29/21          Sale                                  (1,854.5)           $11.68
